   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5
   6                               UNITED STATES BANKRUPTCY COURT

   7                                       DISTRICT OF ARIZONA
   8
        In re                                              Chapter 13
   9
        HOUSSEIN R. ANGOUS,                                Case No. 2-23-bk-03876-DPC
  10
  11    and                                                TRUSTEE’S RECOMMENDATION

  12    AISE MOUNTOUR,                                     Deadline is October 16, 2023
  13                                           Debtors.
  14
                The Trustee has reviewed the Plan, Schedules, and Statement of Financial Affairs.
  15
                The Trustee notes the following issues, which must be resolved before recommending
  16
  17   confirmation of the Plan:

  18            (1) The Order confirming plan to state “Rocket Mortgage, LLC, secured by a first deed of
  19
       trust in the Debtor residence located at 5062 S. Rovey Pkwy, Buckeye, AZ 85326, shall be paid
  20
       $508.99 for pre-petition mortgage arrears with 0% interest. Regular post-petition payments,
  21
       including all post-petition mortgage fees, expenses and charges, shall be paid directly by Debtor(s)
  22
  23   to the secured creditor.”

  24            (2) The Order confirming plan to state “The plan will not be deemed complete and the
  25   debtors granted a discharge until the plan pays a minimum of $6,450.00 to unsecured, nonpriority
  26
       claims.”
  27
  28


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   1          (3) Other requirements:
   2
              (A) When a debtor is represented by counsel, all debtor documents are to be submitted to the
   3
       Trustee through the bkdocs.us website after redaction of PII. Local Rule 2084-27. Such documents
   4
       include tax returns, bank statements, paystubs, and so on.
   5
   6          (B) The attorney is to review all proofs of claim on the claims register and resolve any

   7   discrepancies between relevant claims and the Plan prior to submitting any proposed Order
   8   Confirming Plan to the Trustee. Attachments to secured claims should be reviewed to see if there
   9
       is a balloon payment. Also, when counsel provides a proposed order confirming plan to the Trustee,
  10
       counsel must file or create a notice on the Court docket. L.R.B.P. 2084-13(b).
  11
  12          (C) Requests by the Trustee for documents and information are not superseded by the filing

  13   of an amended plan or motion for moratorium.

  14          (D) Before submitting a proposed order, the attorney for the Debtor(s) should verify plan
  15
       funding using the funding http://www.chapter13.info/funding-calc-main.aspx.
  16
              (E) The Trustee will object to any reduction in the Plan duration or payout in a proposed
  17
       Order Confirming Plan unless an amended or modified plan is filed and noticed out.
  18
  19          (F) The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this

  20   Order shall not constitute an informal proof of claim for any creditor.”
  21
              (G) To expedite the order review process, counsel must use the recommended form for the
  22
       order confirming plan. If counsel needs the Trustee’s latest form, then contact the applicable case
  23
       administrator..
  24
  25          (H) The order confirming plan must be accompanied by a cover letter that goes over the

  26   Trustee’s Recommendation items by each paragraph. If counsel fails to use the order form and
  27
  28                                                  -2-


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   1   provide such letter, the Trustee will reject the proposed order outright and the time to comply with
   2
       the Recommendation is not extended.
   3
              (I) The order confirming plan is to state: Within 14 days of filing them, the Debtors shall
   4
       provide a copy of their 2023 - 2024 federal and state income tax returns, including all attachments,
   5
   6   forms, schedules and statements, to their attorney. After appropriate redaction of PII, Debtors’

   7   attorney is to promptly provide the returns to the Trustee through the website www.bkdocs.us.
   8          (J) Nothing in the Plan or Order Confirming Plan is to alter counsel’s obligation to represent
   9
       the Debtors. Counsel is to represent the Debtor(s) in all matters regardless of the fee agreement until
  10
       the Court issues an order permitting counsel to withdraw or the case is closed.
  11
  12          (K) According to Paragraph II.H.3. of the “Administrative Procedures for Electronically Filed

  13   Cases,” as governed by Local Rule 5005-2(e), the Debtors’ attorney is to retain the original

  14   signatures of all signatories to the Stipulated Order Confirming Plan (other than that of the Trustee).
  15
       Pursuant to Local Rule 2084-13(c), the Trustee will upload the proposed Order Confirming a plan
  16
       or granting a motion for a moratorium.
  17
              (L) The proposed order confirming plan, any responses to this recommendation, and
  18
  19   documents submitted in response to this recommendation are to be submitted to the applicable case

  20   administrator in the Trustee’s office.
  21
              SUMMARY: Pursuant to Local Rule 2084-10(b), by October 16, 2023, Debtors are to
  22
       resolve all of the above issues and provide the Trustee with a proposed order confirming plan that
  23
       meets the above requirements, or the Debtor must file an objection to the Recommendation and
  24
  25
  26
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   1   obtain a hearing date. If neither is accomplished, then the Trustee could file a notice of intent to
   2
       lodge a dismissal order.
   3
                                                                                   Rachel Flinn
   4                                                                               2023.09.18
       Copy mailed or emailed to:
   5                                                                               14:01:39
   6   HOUSSEIN R. ANGOUS
       AISE MOUNTOUR                                                               -07'00'
   7   5062 SOUTH ROVEY PKWY
       BUCKEYE, AZ 85326
   8   JJANGOUS@YAHOO.COM
   9
       PHOENIX FRESH START
  10   THOMAS ADAMS MCAVITY
       4131 MAIN STREET
  11   SKOKIE, IL 60076-2780
  12   DOCUMENTS@PHXFRESHSTART.COM
       TOM@NWRELIEF.COM
  13   FAIZA@PHXFRESHSTART.COM

  14
                           Digitally signed by
  15                       Jessica Morales
                           Date: 2023.09.18
  16                       15:09:19 -07'00'
       _________________________________
  17   jmorales@ch13bk.com
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